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                                                   #:18907



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                   9                           UNITED STATES DISTRICT COURT
                  10                       CENTRAL DISTRICT OF CALIFORNIA
                  11                                EASTERN DIVISION
                  12 CARTER BRYANT, an individual,           CASE NO. CV 04-9049 SGL (RNBx)
                  13'             Plaintiff,                 Consolidated with
                                                             Case No . CV 04-09059
                  14        vs.                              Case No . CV OS-02727
                  15 MATTEL, INC., a Delaware                DISCOVERY MATTER
                     corporation,
                  16                                         To Be Heard By Discovery Master Hon.
                                  Defendant.                  dward Infante   et.) Pursuant To The
                  17                                         Court's Order O December 6, 2006]
                  18 AND CONSOLIDATED ACTIONS                CPUBLIC REDACTED DECLARATION
                                                              F SCOTT B. KID     IN SUPPORT OF
                  19                                         MATTEL, INC.'S MOTION FOR
                                                             RECONSIDERATION OF PORTIONS OF
                  20                                         DISCOVERY MASTER'S DECEMBER
                                                             31, 2007 ORDER
                  21
                                                             Hearing Date:      February 8, 2008
                  22                                         Time:              9:30 a.m.
                                                             Place:             Telephonic
                  23
                                                             Phase 1:
                  24                                         Discovery Cut-off:     Januaary 14, 2008
                  25                                         Pre-trial Conference : Aril 7, 2008
                                                             Trial Date : April 29, 208
                  26
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                           KIDMAN DECLARATION ISO MATTEL'S MOTION FOR RECONSIDERATION OF DECEMBER 31, 2007
                                                                                                   ORDER
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                       I               I, Scott B. Kidman, declare as follows:
                       2                1.    I am a member of the bar of the State of California and a partner
                       3 at Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc.
                       4 ^I ("Mattel"). I make this declaration of personal, f rsthand knowledge and, if called
                       S and sworn as a witness, I could and would testify competently thereto.
                       6               2.     On dune 13, 2007, Mattel propounded its First Set of Requests
                       7 'I for Production of Documents and Things to Isaac Larian.
                       S               3.     Prior to filing a motion to compel, I met and conferred regarding
                    9 Larian's responses with his counsel, William Charron, on several occasions from
                   IO September 11, 2007 to September 21, 2007. During those meet and confers, Mr.
                   I1 Charron did not offer any compromise by which Larian would agree to produce
                   I2 documents responsive to Request No. 198 subject to any time period limitations.
                  13                   4.    Mattel moved to compel production of documents by Isaac
                  I4 Larian on October 11, 2007. Attached as Exhibit I is a true and correct copy of
                  15 excerpts of the public redacted version of Mattel, Int.'s Consolidated Separate
                  16 Statement in Support of Motion to Compel Production of Documents by Isaac
                  17 Larian.
                  18                   5.    Attached as Exhibit 2 is a true and correct copy of the Discovery
                  19 Master's Order Granting in Part and Denying in Part Mattel's Motion to Compel
                  20 Production of Documents by Isaac Larian; Denying Request for Sanctions, dated
                  21 December 31, 2007.
                  22                  6.     Attached as Exhibit 3 is a true and correct copy of the Public
                  23 Redacted version of Mattel, Inc.'s Second Amended Answer in Case No. 05-2727
                  24 and Counterclaims , with exhibits omitted, dated ruly 12, 2007.
                  2S                  7.     Attached as Exhibit 4 is a true and correct copy of the
                  26 Supplemental Responses to MGA's First Set of Interrogatories to Mattel, Inc., dated
                  27 December 7, 2007.
                  28
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                              KIDMAN DECLARATION ISO MATTEL'S MOTION FOR RECONSIDERATION OF DECEMBER 3 i, 2007
                                                                                                     ORDER
                  Case 2:04-cv-09049-DOC-RNB Document 1555-2 Filed 01/18/08 Page 3 of 3 Page ID
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                       1               8.    I met and conferred with Philip Marsh, counsel for Isaac Larian,
                   2 on January 10, 200$, prior to bringing this motion. During the meet and confer
                   3 process, I directed Mr. Marsh to the claims raised in Mattel's supplemental
                   4 interrogatories relating to theft of trade secrets by Jorge Castilla in 2006, and asked
                   5 that he stipulate to provide documents responsive to Request No. 198 through the
                   6 present. Mr. Marsh refused to stipulate to a modification of the Court's Order
                   7 regarding this request.
                   8
                   9                  I declare under penalty of perjury under the laws of the United States of
                  10^ America that the foregoing is true and correct.
                  Il                  Executed this 16th day of January, 2008, at Los Angeles, California.
                  12
                  13
                                                                   Scott B. Kidman
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                           KIDMAN DECLARATION ISO MATTEL INC.'S MOTION TO ENFORCE COURT'S AUGUST 20, 2007 ORDER
